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                   UNITED STATES BANKRUPTCY COURT
                    NORTHERN DISTRICT OF ILLINOIS


IN RE:                                                     Chapter 13
Debtor(s)                                                  CASE NO: 22-00703

ENRIQUE VALES
GLORIA VALES




          NOTICE OF CLAIM SATISFACTION


TO: Debtor(s), Attorney for Debtor(s), Trustee, and all interested parties:



NOTICE IS HEREBY GIVEN:

As to Claim 23 filed on 3/11/2022, file this notice that claim 23 has been satisfied
and the Debtor(s) has no further liability as to this claim. We respectfully request
no further disbursements be made by the Chapter 13 Trustee.




                                                          /S/ Ashley Boswell
                                                         Bankruptcy Specialist
                                                     American InfoSource as Agent
Dated: 3/20/2023                                         4515 N Santa Fe Ave
                                                       Oklahoma City, OK 73118
                                                              877-893-8870
                                                            POC_ais@aisinfo.com
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